                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                   EASTERN DIVISION

IN RE:                                            )
Joshua Allen Reece                                ) CASE NO. 19-40463
DEBTOR(S).                                        ) CHAPTER 13


                                                COVER SHEET

This is a Cover Sheet for filings in the above case on 04/16/2019:
   1. Amended Schedule I/J: to reflect actual income and remove house and vehicle payments
        as they are being surrendered.
   2. Summary of Assets, Liabilities and Certain Statistical Information
   3. Chapter 7 Statement of Current Monthly Income

                                                  /s/ Marcie L. Foster
                                                  Marcie L. Foster, Attorney for the Debtor(s)
                                                  5635 Weiss Lake Blvd.
                                                  Leesburg, Al 35983
                                                  O: (256)526-4000
                                                  F: (256)399-4656
                                                  Marcie@FosterLawOffice.org


                                     CERTIFICATE OF SERVICE

I hereby certify that I have served a copy of the foregoing on the parties placing a copy of same in the
United States mail, properly addressed, first class postage prepaid and ECF as available to parties listed
below, on this the 16th day of April 2019.

                                                  /s/ Marcie L. Foster
                                                  Marcie L. Foster
Via CM/ECF:
Marcie Foster on behalf of Debtor Joshua Allen Reece
marcie@fosterlawoffice.org, fosterlawoffice.notice@gmail.com,G15444@notify.cincompass.com

Rocco J Leo
rleo@leoandoneal.com, rleo@ecf.axosfs.com

Sady Duffner Mauldin on behalf of Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper
bkal@albertellilaw.com, anhsalaw@infoex.com;smauldin@alaw.net

Via Mailed by First Class Postage US Mail:
See attached matrix




Case 19-40463-JJR7          Doc 24     Filed 04/16/19 Entered 04/16/19 15:18:52                  Desc Main
                                      Document      Page 1 of 12
Label Matrix for local noticing                      PRA Receivables Management, LLC                      U. S. Bankruptcy Court
1126-1                                               PO Box 41021                                         1129 Noble Street, Room 117
Case 19-40463-JJR7                                   Norfolk, VA 23541-1021                               Anniston, AL 36201-4674
NORTHERN DISTRICT OF ALABAMA
Anniston
Tue Apr 16 15:13:07 CDT 2019
Amex                                                 Amex                                                 Bank of America
Correspondence/Bankruptcy                            PO Box 981537                                        4909 Savarese Cir
PO Box 981540                                        El Paso, TX 79998-1537                               Tampa, FL 33634-2413
El Paso, TX 79998-1540


(p)BANK OF AMERICA                                   Cherokee Medical Center                              Grow Financial Fcu
PO BOX 982238                                        400 Northwood Dr                                     9927 Delaney Lake Dr
EL PASO TX 79998-2238                                Centre, AL 35960-1023                                Tampa, FL 33619-5071



Macdill Air Force Bk/Grow Financial Fcu              Pacific Union Financia                               Pacific Union Financial
Attn: Bankruptcy                                     1603 Lyndon B Johnson Fwy Ste 500                    Attn: Bankruptcy
PO Box 89909                                         Farmers Branch, TX 75234-6071                        1603 Lyndon B Johnson Fwy Ste 500
Tampa, FL 33689-0415                                                                                      Farmers Branch, TX 75234-6071


Syncb/Polaris Consumer                               Syncb/Polaris Consumer                               Wells Fargo
Attn: Bankruptcy                                     PO Box 6153                                          Credit
PO Box 965060                                        Rapid City, SD 57709-6153                            Bureau DISPUTE
Orlando, FL 32896-5060                                                                                    Des Moines, IA 50301


(p)WELLS FARGO BANK NA                               Wells Fargo Bank Nv NA                               Joshua Allen Reece
1 HOME CAMPUS                                        PO Box 94435                                         1400 County Road 174
MAC X2303-01A                                        Albuquerque, NM 87199-4435                           Piedmont, AL 36272-3341
DES MOINES IA 50328-0001


Marcie Foster                                        (c)ROCCO J LEO
Law Offices of Marcie L. Foster                      LEO AND O’NEAL
5635 Weiss Lake Blvd                                 3250 INDEPENDENCE DR STE 200
Leesburg, AL 35983-3514                              BIRMINGHAM AL 35209-4192




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America                                      Wells Fargo Bank
PO Box 982238                                        Attn: Bankruptcy Dept
El Paso, TX 79998-2238                               PO Box 6429
                                                     Greenville, SC 29606-6429




                                     Addresses marked (c) above for the following entity/entities were corrected
                                          as required by the USPS Locatable Address Conversion System (LACS).

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                                                         Document      Page 2 of 12
Rocco J Leo
Leo and O’Neal
3250 Independence Drive, Ste 201
Birmingham, AL 35209




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Nationstar Mortgage LLC d/b/a Mr. Cooper          (d)PRA Receivables Management, LLC                   End of Label Matrix
                                                     PO Box 41021                                         Mailable recipients   19
                                                     Norfolk, VA 23541-1021                               Bypassed recipients    2
                                                                                                          Total                 21




              Case 19-40463-JJR7              Doc 24      Filed 04/16/19 Entered 04/16/19 15:18:52                       Desc Main
                                                         Document      Page 3 of 12
Fill in this information to identify your case:

Debtor 1                      Joshua Allen Reece

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ALABAMA, EASTERN
                                              DIVISION

Case number               1:19-bk-40463                                                                    Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                              A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                                           Jacksonville State University-
                                             Employer's name         Maintenan
       Occupation may include student or
       homemaker, if it applies.         Employer's address



                                             How long employed there?           1 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1          For Debtor 2 or
                                                                                                                               non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $         1,269.67        $             N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      1,269.67               $       N/A




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
             Case 19-40463-JJR7                   Doc 24    Filed 04/16/19 Entered 04/16/19 15:18:52                                   Desc Main
                                                           Document      Page 4 of 12
Debtor 1    Reece, Joshua Allen                                                                     Case number (if known)    1:19-bk-40463


                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      1,269.67       $              N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                   5a.        $        186.49        $              N/A
      5b.    Mandatory contributions for retirement plans                                    5b.        $         76.18        $              N/A
      5c.    Voluntary contributions for retirement plans                                    5c.        $          0.00        $              N/A
      5d.    Required repayments of retirement fund loans                                    5d.        $          0.00        $              N/A
      5e.    Insurance                                                                       5e.        $          0.00        $              N/A
      5f.    Domestic support obligations                                                    5f.        $          0.00        $              N/A
      5g.    Union dues                                                                      5g.        $          0.00        $              N/A
      5h.    Other deductions. Specify:                                                      5h.+       $          0.00 +      $              N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $            262.67       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          1,007.00       $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00    $              N/A
      8b. Interest and dividends                                                             8b.        $              0.00    $              N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00    $              N/A
      8d. Unemployment compensation                                                          8d.        $              0.00    $              N/A
      8e.    Social Security                                                                 8e.        $              0.00    $              N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            1,007.00 + $            N/A = $          1,007.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          1,007.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                       page 2
           Case 19-40463-JJR7               Doc 24        Filed 04/16/19 Entered 04/16/19 15:18:52                                  Desc Main
                                                         Document      Page 5 of 12
Fill in this information to identify your case:

Debtor 1                Joshua Allen Reece                                                                   Check if this is:
                                                                                                              An amended filing
Debtor 2                                                                                                            A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                                  expenses as of the following date:

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ALABAMA,                                             MM / DD / YYYY
                                           EASTERN DIVISION

Case number           1:19-bk-40463
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
      No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?             No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’  s relationship to        Dependent’
                                                                                                                                 s         Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include
      expenses of people other than
                                                No
      yourself and your dependents?              Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                                 0.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                               0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                               0.00
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                               0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                              page 1

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Debtor 1     Reece, Joshua Allen                                                                       Case number (if known)       1:19-bk-40463

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              200.00
      6b. Water, sewer, garbage collection                                                     6b. $                                                30.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                               89.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              334.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               80.00
10.   Personal care products and services                                                      10. $                                                35.00
11.   Medical and dental expenses                                                              11. $                                                55.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                  0.00
      15b. Health insurance                                                                   15b. $                                                  0.00
      15c. Vehicle insurance                                                                  15c. $                                                 94.00
      15d. Other insurance. Specify:                                                          15d. $                                                  0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
      17c. Other. Specify:                                                                    17c. $                                                  0.00
      17d. Other. Specify:                                                                    17d. $                                                  0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.00
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:                                                                          21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       1,217.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       1,217.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               1,007.00
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              1,217.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -210.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2

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              Fill in this information to identify your case:

 Debtor 1                   Joshua Allen Reece
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

 Case number           1:19-bk-40463
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $             150,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              18,920.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             168,920.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             175,785.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                  $              72,627.00


                                                                                                                                     Your total liabilities $                 248,412.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                 $                 1,007.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 1,217.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
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              Case 19-40463-JJR7                           Doc 24           Filed 04/16/19 Entered 04/16/19 15:18:52                                                    Desc Main
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 Debtor 1     Reece, Joshua Allen                                                            Case number (if known) 1:19-bk-40463

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $          781.33


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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          Case 19-40463-JJR7                        Doc 24      Filed 04/16/19 Entered 04/16/19 15:18:52                            Desc Main
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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Joshua Allen Reece
 Debtor 2
 (Spouse, if filing)
                                                                                                      1. There is no presumption of abuse
                                                  Northern District of Alabama, Eastern
                                                                                                       2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:          Division                                                   applies will be made underChapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number           1:19-bk-40463                                                                   3. The Means Test does not apply now because of qualified
 (if known)                                                                                                  military service but it could apply later.

                                                                                                       Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
        Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                    781.33       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                       0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                       0.00      $
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                     0.00      $
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from rental or other real property            $     0.00 Copy here -> $                     0.00      $
                                                                                                        $              0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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 Debtor 1     Reece, Joshua Allen                                                                        Case number (if known)   1:19-bk-40463


                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                       $                 0.00       $
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                   0.00
            For your spouse                                           $
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act.                                                             $                     0.00       $
  10. Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act or payments received as
      a victim of a war crime, a crime against humanity, or international or domestic terrorism.
      If necessary, list other sources on a separate page and put the total below.
              .                                                                                  $                     0.00       $
                                                                                                     $                 0.00       $
                  Total amounts from separate pages, if any.                                     +   $                 0.00       $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       781.33           +   $                  =    $         781.33

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>            $            781.33

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                  12b. $           9,375.96

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                    AL

       Fill in the number of people in your household.                         1
       Fill in the median family income for your state and size of household.                                                    13.          $        46,521.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Joshua Allen Reece
                Joshua Allen Reece
                Signature of Debtor 1
        Date April 16, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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                                                                                                              '
    Fill in this information to identify your case:

    Debtor 1

    Debtor 2
    (Spollse. if f1Hng) FC,rc;: r..Jame               Middle Narr,e            l.ast:-;arne


    United States Bankruptcy Court for the: Northern District of Alabama

    Case number                      (    q - J./..olf{n 3
    (!fk!":O'l,>'n)
                                                                                                                                             ef   Check if this is an
                                                                                                                                                  amended filing



      Official Form 106Dec
      Declaration About~ an f ndividual Debtor's Schedules
                                          I              ..      .                                                                                          12/15

      If two married people are filing together, both are equally responsible for supplying correct information.

      You must file this fonn whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
      obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
      years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                            Sign Below



              Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

              ~No
              0       Yes. Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Ban/\ruptcy Petition Preparer's Notice, Declaration, and
                                                                                                            Signature (Official Form 119).




             Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
             that they are true and correct.




                                                                                    Signature of Debtor 2


                                                                                   Date _ _ _ _ _ __
                                                                                              ,MM I OD   YVYY




      Official Form i06Dec                                              Declaration About an Individual Debtor's Schedules




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